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                  UNITED STATES DISTRICT COURT                       11/13/2019
              FOR THE WESTERN DISTRICT OF VIRGINIA
                      LYNCHBURG DIVISION

AMHERST COUNTY, VIRGINIA,

Plaintiff

v.

MALLINCKRODT PLC; MALLINCKRODT                            6:19CV00077
                                        Civil Action No. ______________
LLC; SPECGX LLC; RICHARD SACKLER;
BEVERLY SACKLER; DAVID SACKLER;         Removed from Case No. CL19-828
ILENE SACKLER LEFCOURT; JONATHAN        Circuit Court for Amherst County,
SACKLER; KATHE SACKLER;                 Virginia
MORTIMER D.A. SACKLER; THERESA
SACKLER; JOHN STEWART; MARK
TIMNEY; CRAIG LANDAU; RUSSELL
GASDIA; ENDO HEALTH SOLUTIONS,
INC; ENDO PHARMACEUTICALS, INC.;
PAR PHARMACEUTICAL COMPANIES,
INC.; PAR PHARMACEUTICAL, INC.;
TEVA PHARMACEUTICALS USA, INC.;
CEPHALON, INC.; BARR
LABORATORIES, INC.; WATSON
LABORATORIES, INC.; ACTAVIS
PHARMA, INC.; ACTAVIS, LLC;
ALLERGAN PLC; ALLERGAN FINANCE,
LLC; MYLAN PHARMACEUTICALS INC.;
MYLAN INSTITUTIONAL INC.; INDIVIOR
INC.; MCKESSON CORPORATION;
MCKESSON MEDICAL-SURGICAL INC.;
CARDINAL HEALTH, INC.;
AMERISOURCEBERGEN DRUG
CORPORATION; HENRY SCHEIN, INC.;
GENERAL INJECTABLES & VACCINES,
INC.; INSOURCE, INC.; CVS HEALTH
CORPORATION; CVS PHARMACY, INC.;
CVS TN DISTRIBUTION, L.L.C.;
VIRGINIA CVS PHARMACY, L.L.C.;
WALGREENS BOOTS ALLIANCE, INC.;
WALGREEN CO.; WALGREEN EASTERN
CO., INC.; EXPRESS SCRIPTS HOLDING



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    COMPANY; EXPRESS SCRIPTS, INC;
    EXPRESS SCRIPTS PHARMACY, INC.;
    CAREMARK RX, L.L.C.; CAREMARKPCS
    HEALTH, L.L.C.; CAREMARK, L.L.C.;
    CAREMARKPCS, L.L.C.;UNITEDHEALTH
    GROUP INCORPORATED; OPTUM, INC.;
    OPTUMRX, INC: WALMART INC.;
    ESI MAIL PHARMACY SERVICE, INC.;
    RITE AID CORP.; RITE AID OF VIRGINIA,
    INC.; RITE AID MID-ATLANTIC; RITE
    AID OF MARYLAND, INC.; ECKERD
    CORPORATION; and DOES 1-100,
                         Defendants.




                                   NOTICE OF REMOVAL

        PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1332, 1441, 1442, and 1446,

defendants Express Scripts, Inc., Express Scripts Holding Company, Express Scripts Pharmacy,

Inc., and ESI Mail Pharmacy Service, Inc. (together “Express Scripts”), along with CVS Health

Corporation; Caremark Rx, L.L.C.; CaremarkPCS Health, L.L.C.; Caremark, L.L.C.;

UnitedHealth Group Incorporated; Optum, Inc.; and OptumRx, Inc. (collectively, “Removing

Defendants”) hereby give notice of removal of this action, captioned Amherst County, Virginia v.

Mallinckrodt PLC, et al., bearing case number CL19000828-00 (the “Action”).

                                       INTRODUCTION

        1.    This Action is one of over 2,000 opioid cases in the federal multidistrict litigation
                  1
(“Opiate MDL”)        filed against manufacturers, distributors, and pharmacies that dispense



1
 On December 5, 2017, the Judicial Panel on Multidistrict Litigation (“JPML”) formed the Opiate
MDL and transferred opioid-related actions to Judge Dan Polster in the Northern District of Ohio
pursuant to 28 U.S.C. § 1407. See In re Nat’l Prescription Opiate Litig., 290 F. Supp. 3d 1375
(U.S. Jud. Pan. Mult. Lit. 2017). As the JPML found in centralizing these cases, “centralization


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prescription opioid medications by government entities, among other plaintiffs, seeking to recoup

costs allegedly incurred in addressing issues related to the opioid abuse epidemic. The plaintiffs

in these cases generally allege that manufacturers, distributors, and pharmacies created a

fraudulent scheme to inflate the prescription opioid market by misleading doctors and the public

about the addictive nature and efficacy of opioids. In some cases, as here, the plaintiffs also claim

that pharmacy benefit managers (“PBMs”), through their formulary design and management,

ensured that opioids were regularly prescribed and flooded the market.

       2.      Like the other MDL opioid cases, this Action seeks recovery based on alleged

injuries to the general population — including veterans — and seeks to hold Express Scripts and

the other defendants accountable. Express Scripts provides pharmacy benefit management

services and administers the mail order pharmacy of the Department of Defense’s (“DOD”) health

care program, TRICARE, pursuant to a contract with the DOD throughout the country, including

Virginia. As such, Express Scripts is entitled to remove this Action because (1) it is a “person

acting under” a federal officer, (2) the charged conduct in the Complaint relates to an act under

color of office, and (3) it has colorable federal defenses, including the government contractor

defense and preemption based on the federal TRICARE Statute. See 28 U.S.C. § 1442(a)(1). As

further explained below, this case is therefore removable under the federal officer statute.

       3.      PBM Defendants Express Scripts, Inc.; Express Scripts Holding Company; CVS

Health Corporation; Caremark Rx, L.L.C.; CaremarkPCS Health, L.L.C.; Caremark, L.L.C.;

UnitedHealth Group Incorporated; Optum, Inc.; and OptumRx, Inc. also remove on the separate

and independent ground of diversity jurisdiction under Federal Rule of Civil Procedure 21




will substantially reduce the risk of duplicative discovery, minimize the possibility of inconsistent
pretrial obligations, and prevent conflicting rulings on pretrial motions.” Id. at 1379.


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severance and the doctrine of fraudulent misjoinder. There is complete diversity of citizenship

between Plaintiff and all PBM Defendants, the only properly joined defendants. Plaintiff is a

Virginia citizen, and all the PBM Defendants are citizens of states or foreign states other than

Virginia. The allegations against the PBMs concern their purported control of formularies and are

separate and distinct from the allegations against the non-PBM Defendants. The non-PBM

Defendants can thus be severed under Rule 21 and their citizenship ignored under fraudulent

misjoinder.

       A.     This Action Is Substantially Similar to the Other 43 Actions Stayed and
              Transferred to the Opiate MDL or Awaiting Transfer.

       4.     This opioid-related action is nearly identical to at least 48 other actions filed largely

by the same plaintiff’s firm on behalf of cities and counties in the Commonwealth of Virginia

against the same core group of defendants from March 2018 to the present. 2 Plaintiff’s counsel

filed 12 of those cases between March 14, 2018 and December 6, 2018 (“First Wave Cases”).

Between March 25, 2019 and August 9, 2019, plaintiff’s counsel filed the next batch of 34 cases

(“Second Wave Cases”). On September 19, 2019, the same plaintiff’s counsel filed this action,

along with Botetourt County v. Mallinckrodt PLC, et al., No. CL19-000538-00 on September 20,

initiating the next wave of cases (“Third Wave Cases”). See Exhibit 1 [List of Opioid Cases].

       5.     All of the First and Second Wave Cases were tagged for potential inclusion in the

federal MDL, In re National Prescription Opiate Litigation, No. 1:17-md-02804 (N.D. Ohio)

(Polster, J.) (“Opiate MDL”). The JPML issued a conditional transfer order for all those cases,

signaling that they should be included in the Opiate MDL because they involve questions of fact



2
 The same plaintiff’s firm representing Amherst County has represented Virginia localities in 47
other actions. A different law firm represented plaintiff in Buchanan County v. Purdue Pharma,
L.P., No. 1:18-cv-00047 (W.D. Va.) (Dillon, J.).


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that are common to the actions previously transferred to the MDL. To date, 43 cases have been

stayed — by eight different judges in the Western and Eastern Districts of Virginia — pending the

JPML’s final order on whether those cases should be transferred to the Opiate MDL. Among those

43 cases, 38 cases have been finally transferred to the MDL, with the remaining five (5) cases

awaiting a final transfer decision (and most likely will be transferred shortly after the JPML’s

December 5, 2019 hearing).

       6.      All but one of the 47 First Wave and Second Wave Cases were removed on identical

grounds based on diversity (fraudulent joinder, fraudulent misjoinder, and Rule 21 severance), as

well as under the Class Action Fairness Act, 28 U.S.C. §§ 1332(d) and 1453(b) (“CAFA”), and

federal question jurisdiction pursuant to 28 U.S.C. §§ 1441(a) and 1331. 3 In the vast majority of

the cases (43 out of 47), the Western and Eastern Districts of Virginia granted motions to stay

pending the JPML’s final transfer decision. 4 Express Scripts has removed the Third Wave Cases

on an additional ground based on the federal officer removal statute.

       7.      To date, more than 2,000 actions have been transferred to, or filed directly in, the

Opiate MDL. Among all the opioid cases filed across the country (pending both in the MDL and

other courts), a relatively small number (approximately 73) involve pharmacy benefit managers.

The majority of those cases against PBMs (57 actions) are currently in the Opiate MDL, with



3
 Only one case City of Martinsville v. Purdue Phama, L.P., No. 4:18-cv-00072 (W.D. Va.) was
removed solely under CAFA because defendant Mylan Pharmaceuticals Inc. (“Mylan”) was
served and did not consent to removal at the time. Mylan has since indicated consents to the
removals of the Second Wave and Third Wave Cases.
4
 Only three cases removed under similar bases (including fraudulent misjoinder/severance) have
been remanded: Board of Supervisors of Arlington County v. Purdue Pharma, L.P., 1:19-cv-00402
(E.D. Va.) (Trenga, J.); Dinwiddie County v. Purdue Pharma, L.P., 3:19-cv-00242 (E.D. Va.)
(Payne, J.); and Mecklenburg County v. Purdue Pharma L.P., No. 3:19-cv-00463-REP (Payne, J.).



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others (including five nearly-identical cases from this District) soon to be transferred to the MDL

by December 2019, and other cases recently removed from state court that have been tagged for

potential inclusion in the MDL.

       8.      The allegations in these transferred cases, and the defendants who are named, are

largely identical. The principal difference between the cases is a rotating cast of non-diverse

defendants joined for the sole purpose of thwarting diversity in an effort to avoid (and undermine)

the MDL. That is the case here. Accordingly, this case, too, should proceed in federal court and

be transferred to the MDL.

       B. The Allegations in the Complaint.

       9.      On September 19, 2019, Amherst County (“Plaintiff”) filed this Action in the

Circuit Court of Amherst County, Virginia (the “State Court”). The Complaint (attached hereto,

along with the state court file, as Exhibit 2) names the following defendants, as well as unnamed,

unidentified Doe defendants:

               a.     “PBM Defendants” — Express Scripts Holding Company; Express Scripts,

Inc.; CVS Health Corporation; Caremark Rx, L.L.C.; CaremarkPCS Health, L.L.C.; Caremark,

L.L.C.; UnitedHealth Group Incorporated; Optum, Inc.; and OptumRx, Inc. See Compl. ¶¶ 225–

57.

               b.     “Manufacturer Defendants” — Mallinckrodt plc; Mallinckrodt LLC;

SpecGX LLC; Richard Sackler; Beverly Sackler; David Sackler; Irene Sackler Lefcourt; Jonathan

Sackler; Kathe Sackler; Mortimer D.A. Sackler; Theresa Sackler; John Stewart; Mark Timney;

Craig Landau; Russell Gasdia; Endo Health Solutions Inc.; Endo Pharmaceuticals, Inc.; Par

Pharmaceutical Companies, Inc.; Par Pharmaceutical, Inc.; Teva Pharmaceuticals USA, Inc.;

Cephalon, Inc.; Barr Laboratories, Inc.; Watson Laboratories, Inc.; Actavis Pharma, Inc.; Actavis




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LLC; 5 Allergan Finance, LLC; Allergan plc; Mylan Pharmaceuticals Inc.; Mylan Institutional Inc.;

Indivior, Inc. See id. ¶¶ 31–138.

                c.     “Distributor Defendants” — McKesson Corporation; McKesson Medical-

Surgical Inc.; Cardinal Health, Inc.; AmerisourceBergen Drug Corporation; Henry Schein, Inc.;

General Injectables & Vaccines, Inc.; Insource, Inc.; CVS Health Corporation; CVS Pharmacy,

Inc.; CVS TN Distribution, L.L.C.; Walgreens Boots Alliance, Inc.; Walgreen Co.; Walgreens

Eastern Co., Inc.; Walmart Inc.; Rite Aid Corp.; Rite Aid of Maryland, Inc.; Rite Aid Mid-Atlantic;

See id. ¶¶ 139–90.

                d.     “Pharmacy Defendants” — CVS Health Corporation; CVS Pharmacy, Inc.;

Virginia CVS Pharmacy, L.L.C.; Caremark Rx L.L.C.; Caremark, L.L.C.; Express Scripts Holding

Company; ESI Mail Pharmacy Service, Inc., Express Scripts Pharmacy, Inc.; OptumRx, Inc.;

Walgreen Co.; Walgreens Boots Alliance, Inc.; Rite Aid Corp.; Rite Aid of Virginia, Inc.; and

Eckerd Corporation; as well as other entities that purportedly fall under the PBM and Distributor

Defendant groups. Id. ¶¶ 191–224.

         10.    Like its predecessors, the thrust of this Complaint is that the Manufacturer

Defendants engaged in a marketing and promotional campaign based on misrepresentations about

the risks and benefits of FDA-approved prescription opioid medications. See id. ¶¶ 138, 275–376.

         11.    Plaintiff also relies on various alleged types of mismarketing, including different

Manufacturer Defendants’ guidelines, which are contrasted with independent guidelines, such as

those issued by the Department of Veterans Affairs and DOD. Id. ¶ 347. Plaintiff’s broad claims

referencing the total volume of opioids and reference to guidelines for veterans necessarily means

Plaintiff seeks recovery based on alleged injuries to veterans, and seeks to hold Express Scripts


5
    Actavis LLC is incorrectly named in the Complaint as “Actavis, LLC.”


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and the other Defendants accountable. As explained below in Section I, the claims thus implicate

Express Scripts’ performance under its contract with the Department of Defense (“DOD”) to

provide services to members of the DOD health program, TRICARE, and should consequently be

removed to federal court under the federal officer removal statute pursuant to 28 U.S.C. §

1442(a)(1).

       12.     Against the Distributor and Pharmacy Defendants, Plaintiff alleges that they

“fail[ed] to implement effective controls and procedures in their supply chains to guard against

theft, diversion and misuse of prescription opioids, and fail[ed] to adequately design and operate

a system to detect, halt, and report suspicious orders of prescription opioids.” Id. ¶ 634.

       13.     The allegations against the PBM Defendants relate to entirely distinct conduct

having nothing to do with the alleged deceptive promotion of opioid medications (Manufacturer

Defendants) or the alleged failure to implement effective controls and procedures in their supply

chains (Distributor and Pharmacy Defendants). Plaintiff alleges that the PBMs “design plans and

create formularies which set the criteria and terms under which pharmaceutical drugs are

reimbursed” (id. ¶ 20), which purportedly “allow[ed] the drugs to enter the marketplace to be

abused” (id. ¶ 548). See also id. ¶¶ 535–624.

       14.     The Complaint asserts twelve causes of action. Seven are pleaded against “all

Defendants,” although each individual claim rests almost entirely on alleged conduct involving the

Manufacturer, Distributor, and/or Pharmacy Defendants, on the one hand, or the PBM Defendants

on the other: (1) statutory public nuisance; (2) common law public nuisance; (3) violation of the

Virginia Consumer Protection Act; (4) fraud; (5) common law civil conspiracy; (6–8) negligence

per se; (9) negligence, (10) gross negligence; (11) willful and wanton negligence; and (12) unjust

enrichment. Id. ¶¶ 625–769. Against the PBMs, Plaintiff asserts all these claims except for




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violation of the Consumer Protection Act, fraud, and negligence per se. Based on these claims,

Plaintiff seeks compensatory damages of at least $45,000,000, punitive damages, and other relief.

See id., Prayer for Relief ¶¶ (1)-(2).

                                  VENUE AND JURISDICTION

        15.     Venue is proper in this Court pursuant to 28 U.S.C. §§ 127, 1391, 1441(a), and

1446(a) because the Circuit Court of Amherst County, Virginia, where the Complaint was filed, is

a state court within the Western District of Virginia.

        16.     This Court has subject matter jurisdiction under 28 U.S.C. §§ 1332(a) and 1442(a)

because (1) this case was properly removed under the federal officer doctrine and/or there is

complete diversity of citizenship between Plaintiff and all properly joined defendants, (2) the

amount in controversy exceeds $75,000, exclusive of interest and costs; and (3) all other

requirements for removal have been satisfied.

                                  GROUNDS FOR REMOVAL

I.      THIS CASE IS REMOVABLE UNDER THE FEDERAL OFFICER REMOVAL
        STATUTE.

        17.     The Express Scripts PBM and mail pharmacy entities all are entitled to remove this

Action based on the federal officer removal statute. Any person “acting under” a federal officer

who is sued “for or relating to any act under color of such office,” may remove to federal court.

28 U.S.C. § 1442(a)(1). A party seeking federal officer removal must show: “(1) that it ‘act[ed]

under’ a federal officer; (2) that it has ‘a colorable federal defense;’ and (3) that the charged

conduct was carried out for or in relation to the asserted official authority.” Sawyer v. Foster

Wheeler LLC, 860 F.3d 249, 254 (4th Cir. 2017) (citations omitted).

        18.     The United States Supreme Court has mandated that the federal officer removal

statute be “liberally construed.” Watson v. Philip Morris Cos., Inc., 551 U.S. 142, 147 (2007).


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The Fourth Circuit has repeatedly acknowledged this breadth, noting that the Supreme Court

“rejected ‘narrow, grudging interpretation[s] of the statute.’” Sawyer, 860 F.3d at 258; see also

Jamison v. Wiley, 14 F.3d 222, 239 (4th Cir. 1994) (describing removal jurisdiction under Section

1442(a) as “mandatory, not discretionary”); Kolibash v. Comm. on Legal Ethics of W. Va. Bar,

872 F.2d 571, 576 (4th Cir. 1989) (finding statute to be “broadly construed”); see also Durham v.

Lockheed Martin Corp., 445 F.3d 1247, 1252 (9th Cir. 2006) (concluding that there is “a clear

command from both Congress and the Supreme Court that when federal officers and their agents

are seeking a federal forum, we are to interpret section 1442 broadly in favor of removal”).

       19.     The Opiate MDL Court affirmed that federal officer removal was proper in two

cases alleging that the removing defendant distributed opioids pursuant to a contract with the

government. See In re Nat’l Prescription Opiate Litg., 327 F. Supp. 3d 1064, 1078–79 (N.D. Ohio

2018) (denying motions to remand and recognizing “the Supreme Court’s mandate to give the

Federal Officer Removal Statute a liberal interpretation”). Express Scripts also satisfies the

requirements for federal officer removal.

       A.      Express Scripts Is a “Person Acting Under” a Federal Officer.

       20.     Express Scripts was acting under a federal officer. Private entities are “acting

under” a federal officer when involved in “an effort to assist or to help carry out, the duties or

tasks of the federal superior.” Watson, 551 U.S. at 152–53; Sawyer, 860 F.3d at 254 (holding

private manufacturer was acting under federal officer in manufacturing under military contracts);

see also Bennett v. MIS Corp., 607 F.3d 1076, 1088 (6th Cir. 2010) (finding party acting under

federal officer where, if not for the contract with the company, the government “itself would have

had to perform” the task).

       21.     PBM Defendant Express Scripts, Inc. holds a contract with the United States




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Department of Defense to provide services to members of the DOD health care program,

TRICARE, across the country, including in Virginia. 6 Express Scripts, Inc. provides pharmacy

benefit management services as well as administers the TRICARE Mail Order Pharmacy through

Pharmacy Defendants ESI Mail Pharmacy Service, Inc. and Express Scripts Pharmacy, Inc. under

the detailed requirements of the contract and 51-page SOW. (SOW, at 1–2.) The contract requires

the exclusive use of the DOD formulary created by the DOD’s own Pharmacy & Therapeutics

(P&T) Committee. Id. at 23. Express Scripts acts as a “fiscal intermediary on behalf of DoD” —

through it “[t]he Government will be acquiring covered drugs with Government funds for use by

the Government.” Id. at 2.

        22.    Express Scripts thus assists the government in providing and managing healthcare

for veterans — services the DOD would otherwise need to provide itself. See Bennett, 607 F.3d

at 1088. Express Scripts’ role as “fiscal intermediary,” among other things, demonstrates it is

acting pursuant to official authority. (SOW, at 2); see also Goncalves By & Through Goncalves

v. Rady Children’s Hosp. San Diego, 865 F.3d 1237, 1247 (9th Cir. 2017) (allowing removal where

government had delegated responsibility to defendants to make subrogation claims on

government’s behalf).

        B.     Express Scripts’ Charged Conduct Relates to an Act under Color of Office.

        23.    Express Scripts’ charged conduct relates to an act under color of office. See State

of Maryland v. Soper, 270 U.S. 9, 33 (1926) (“[T]he statute does not require that the prosecution

must be for the very acts which the officer admits to have been done by him under federal authority.



6
  See Express Scripts Military Healthy System Statement of Work (2017), available at
https://health.mil/Reference-Center/FOIA-Documents/2017/12/12/Express-Scripts-Military-
Health-System-Statement-of-Work (last visited Oct. 1, 2019) [hereinafter “Statement of Work” or
“SOW”].


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It is enough that his acts or his presence at the place in performance of his official duty constitute

the basis, though mistaken or false, of the state prosecution.”). The Fourth Circuit has held that

the third prong requires only conduct “in relation to” official authority, and thereby loosened the

test applied, as reflected in the 2011 amendments to the statute. See Sawyer, 860 F.3d at 258

(noting the statute previously permitted removal of suits “for” any act under color of office, and

was amended in 2011 to include suits “for or relating to” any act under color of office (emphasis

added)). The amendments “‘broaden[ed] the universe of acts’ that enable federal removal,” such

that “there need be only ‘a connection or association between the act in question and the federal

office.’” Id. (emphasis added).

       24.     This requirement for federal officer removal is satisfied because Express Scripts’

charged conduct in the Complaint (PBM services and pharmacy distributions) relates to an act

under color of office (administering the healthcare plan and mail order pharmacy for veterans

under a DOD contract). See Sawyer, 860 F.3d at 258 (stating that this prong is “broad”). Plaintiff

alleges that PBMs including Express Scripts “acted as the gatekeepers of prescription drugs

including opioids” and established national “formularies which govern which drugs are reimbursed

and how.” (Compl. ¶¶ 225, 246.) With respect to the pharmacies, Plaintiff alleges they “did

nothing to stem the flow of excess opioids into Amherst County.” Id. ¶ 15. Plaintiff specifically

asserts that Express Scripts offered mail order pharmacy services and maintained formularies that

“allowed for the dispensing and reimbursement of . . . opioids” including those “at issue in this

case.” Id. ¶ 246.

       25.     Under the DOD contract, the Express Scripts PBM and mail pharmacy entities

maintained the DOD’s own formulary and provided mail order pharmacy services, respectively.

(SOW, at 23.) Plaintiff’s broad allegations that Express Scripts maintained formularies and




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dispensed opioids cannot be separated from the services provided under the DOD contract. (SOW,

at 1–2.) As the Opiate MDL similarly concluded as to a distributor, there is a sufficiently pled

connection between Plaintiff’s allegations of mismarketing and diversion, and Express Scripts’

PBM and mail pharmacy services to remove on this basis. See In re Nat’l Prescription Opiate

Litig., 327 F. Supp. 3d at 1078.

       C.      Express Scripts Has Colorable Federal Defenses.

       26.     Express Scripts can raise colorable federal defenses. Because one of the purposes

of federal officer removal is to provide a federal forum for federal defenses, “[p]roof of a

‘colorable’ federal defense . . . does not require the defendant to ‘win his case before he can have

it removed’ nor even establish that the defense is ‘clearly sustainable.’” Ripley v. Foster Wheeler

LLC, 841 F.3d 207, 210 (4th Cir. 2016) (citing Willingham v. Morgan, 395 U.S. 402, 407 (1969)).

       27.     Express Scripts can raise the government contractor defense, which applies when

“(1) the United States approved reasonably precise specifications; (2) the equipment conformed to

those specifications; and (3) the supplier warned the United States about the dangers in the use of

the equipment that were known to the supplier but not to the United States.” Ripley, 841 F.3d at

210 (holding defense applies to failure to warn claims) (citing Boyle v. United Techs. Corp., 487

U.S. 500, 512 (1988)). The defense protects from “tort liability that arises as a result of the

contractor’s ‘compliance with the specifications of a federal government contract.’” Getz v.

Boeing Co., 654 F.3d 852, 860 (9th Cir. 2011) (citing In re Hanford Nuclear Reservation

Litig., 534 F.3d 986, 1000 (9th Cir. 2008)).

       28.     The Opiate MDL Court held that an opioid distributor satisfied the first two

requirements where the government had “approved reasonably precise specifications,” and the

distributor’s deliveries “conformed to those specifications.” In re Nat’l Prescription Opiate Litig.,




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327 F. Supp. 3d at 1078. Under the “low bar” for the final prong, the opioid distributor could

plausibly argue that it “was aware of no greater danger than the government was already aware

of.” Id. Here, too, Express Scripts can raise the government contractor defense because it was

providing pharmacy benefit management services and administering the mail order pharmacy for

veterans under the specific requirements of the DOD’s own formulary. See SOW, at 23.

       29.     In addition, Express Scripts can raise the defense of preemption based on the federal

TRICARE statute, which provides the statutory authorization for the Secretary of Defense to enter

into group health-insurance contracts. See 10 U.S.C. §§ 1071, 1072(7), 1073(a), 1074g (Pharmacy

benefits program). The statute and accompanying federal regulations contain express preemption

provisions. See 10 U.S.C. § 1103 (“A law or regulation of a State or local government relating to

health insurance, prepaid health plans, or other health care delivery or financing methods shall not

apply to any contract entered into pursuant to this chapter by the Secretary of Defense,” to the

extent the state law is inconsistent, or preemption is necessary to implement or administer the

contract); 32 C.F.R. § 199.17(a)(7)(iii). Accordingly, the terms of the Department of Defense’s

TRICARE contract with Express Scripts would preempt any inconsistent state laws and preempt

state claims that would interfere with implementation or administration of those contract terms or

the TRICARE statutory scheme.

       30.     Moreover, federal officer removal will allow this Action to proceed with the others

in the Opiate MDL raising similar issues. This includes 38 nearly identical First Wave and Second

Wave Cases already transferred to the MDL from this District and the Eastern District Virginia, as

well as other federal officer removed cases, such as a recently-transferred case to the Opiate MDL,

City of Portsmouth v. McKesson Corp., No. 2:19-cv-00331 (E.D. Va.) (Morgan, J.) (removed

under the federal officer removal statute and transferred to the Opiate MDL on October 2, 2019).




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Those 39 transferred actions, like this case, are among more than 2,000 similar cases in

jurisdictions around the country in which government entities have sued, among others,

prescription medication manufacturers, distributors, retail pharmacies, and pharmacy benefit

managers for alleged harms stemming from the abuse of opioid medications. This case should

thus be adjudicated in federal court and consolidated with other cases in the MDL, in furtherance

of judicial economy, streamlined processing, and avoidance of inconsistent rulings.

       31.     Finally, the Complaint implicates issues of national importance that should be

decided by the federal MDL. The Complaint in this action is carefully patterned after the

allegations of previously-filed opioid lawsuits, many of which are now part of the Opiate MDL.

Like other plaintiffs in the Opiate MDL, Plaintiff in this Action expressly alleges that its claims

raise issues of national importance, some of which implicate duties recognized by federal law.

See, e.g., Compl. ¶ 1 (describing an “opioid epidemic that has resulted in economic, social and

emotional damage to virtually every community in the United States and tens of thousands of

Americans” and citing reports from the United States Centers for Disease Control and Prevention

for the proposition that “[p]rescription and illegal opioids account for more than sixty percent

(60%) of overdose deaths in the United States”); see also id. ¶ 356 (alleging that certain

defendants’ causal misconduct violated “Virginia and Federal Law”). Defendants are entitled to

have their defenses decided by the MDL considering these issues of national importance.

II.    THERE IS COMPLETE DIVERSITY OF CITIZENSHIP BETWEEN PLAINTIFF
       AND ALL PROPERLY JOINED DEFENDANTS.

       32.     Removal is proper on the separate and independent ground of diversity jurisdiction

because there is complete diversity of citizenship between Plaintiff and all PBM Defendants

(Express Scripts, Inc., Express Scripts Holding Company, CVS Health Corporation; Caremark Rx,

L.L.C.; CaremarkPCS Health, L.L.C.; Caremark, L.L.C.; UnitedHealth Group Incorporated;


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Optum, Inc.; and OptumRx, Inc.), the only properly joined Defendants. 7 Plaintiff is a Virginia

citizen, and all the PBM Defendants are citizens of states or foreign states other than Virginia. The

Doe Defendants should be disregarded, and the non-PBM Defendants are severable under Federal

Rule of Civil Procedure 21 and the doctrine of fraudulent misjoinder. Thus, the PBM Defendants

remove on these grounds.

        A.     Plaintiff Is Diverse from All PBM Defendants.

               1.      Plaintiff Is A Citizen of Virginia.

        33.    Plaintiff Amherst County is a Virginia citizen for purposes of diversity jurisdiction.

See Moor v. Alameda Cty., 411 U.S. 693, 721 (1973) (holding that Alameda County is a California

citizen for purposes of diversity jurisdiction).

               2.      No PBM Defendant Is a Citizen of Virginia.

        34.    For purposes of diversity jurisdiction, a corporation is “a citizen of every State and

foreign state by which it has been incorporated and of the State or foreign state where it has its

principal place of business.” 28 U.S.C. § 1332(c)(1). A partnership is a citizen of every state in

which its partners are citizens. See Americold Realty Trust. v. Conagra Foods, Inc., 136 S. Ct.

1012, 1015 (2016); Gen. Tech. Applications, Inc. v. Exro Ltda, 388 F.3d 114, 121 (4th Cir. 2004).

The citizenship of a limited liability company is determined by reference to the citizenship of its

members. See Cent. W. Va. Energy Co. v. Mountain State Carbon, LLC, 636 F.3d 101, 103 (4th

Cir. 2011).

        35.    Applying these principles, no PBM Defendant is a citizen of Virginia.


7
 Express Scripts, Inc. and Express Scripts Holding Company assert fraudulent misjoinder and
Rule 21 severance grounds for removal in theirs, Caremark’s and OptumRx’s capacity as alleged
PBMs (not as alleged pharmacy defendants). Defendants Express Scripts Pharmacy, Inc. and ESI
Mail Pharmacy Service, Inc. are mail pharmacies and not PBMs, and thus do not assert these
grounds for removal.


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          36.   Defendant Express Scripts Holding Company is a corporation organized under the

laws of Delaware with its principal place of business in St. Louis, Missouri. (Compl. ¶ 201.)

          37.   Defendant Express Scripts, Inc. is a corporation organized under the laws of

Delaware with its principal place of business in St. Louis, Missouri. Id. ¶ 238.

          38.   Defendant CVS Health Corporation is a Delaware corporation with its principal

place of business in Woonsocket, Rhode Island. Id. ¶ 170.

          39.   The sole member of Defendant Caremark Rx, L.L.C. is CVS Pharmacy, Inc., a

Rhode Island corporation. Accordingly, Caremark Rx, L.L.C. is a citizen of Rhode Island.

          40.   The sole member of Defendant Caremark, L.L.C. is Caremark Rx, L.L.C.

Accordingly, it too is a citizen of Rhode Island.

          41.   The sole member of Defendant CaremarkPCS Health, L.L.C.is Defendant

CaremarkPCS, L.L.C.       The sole member of CaremarkPCS, L.L.C. is Caremark Rx, L.LC.

Accordingly, both CaremarkPCS Heatlh, L.L.C. and CaremarkPCS, L.L.C. are citizens of Rhode

Island.

          42.   Defendant UnitedHealth Group Incorporated is a corporation organized under the

laws of Delaware with its principal place of business in Minnetonka, Minnesota. Id. ¶ 247.

          43.   Defendant OptumRx, Inc. is a corporation organized under the laws of California

with its principal place of business in Irvine, California. Id. ¶ 207.

          44.   Defendant Optum, Inc. is a corporation organized under the laws of Delaware with

its principal place of business in Eden Prairie, Minnesota. Id. ¶ 249.

          45.   Accordingly, all PBM Defendants are citizens of a state other than Virginia.

          B.    The Citizenship of Doe Defendants Is Ignored.

          46.   The citizenship of unnamed, unidentified Doe Defendants is ignored for purposes



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of determining diversity jurisdiction. See 28 U.S.C. § 1441(b)(1) (“In determining whether a civil

action is removable on the basis of [diversity of citizenship], the citizenship of defendants sued

under fictitious names shall be disregarded.”).

       C.      The Citizenship of the Non-PBM Defendants Should Be Ignored.

               1.      Non-PBM Defendants Should Be Severed Under Rule 21.

       47.     The claims against non-PBM Defendants should be severed under Federal Rule of

Civil Procedure 21. Defendants are severable under Rule 21 if they are either (i) unnecessary or

dispensable under Rule 19, or (ii) if the claims against them are sufficiently distinct from claims

against other defendants under Rule 20. Here, all non-PBM Defendants should be severed on both

grounds, each of which preserves diversity jurisdiction as to the PBM Defendants.

       48.     As to severance of unnecessary and dispensable parties, it is settled law in the

Fourth Circuit that “non-diverse parties whose presence is not essential under Rule 19 may be

dropped to achieve diversity between the plaintiffs and the defendants.” Caperton v. Beatrice

Pocahontas Coal Co., 585 F.2d 683, 691 (4th Cir. 1978); see Koehler v. Dodwell, 152 F.3d 304,

308 (4th Cir. 1998) (“[A] party . . . whose presence deprives the court of jurisdiction may be

dropped or severed from the action.”). As the United States Supreme Court has held, “it is well

settled that Rule 21 invests district courts with authority to allow a dispensable nondiverse party

to be dropped at any time, even after judgment has been rendered.” Newman-Green, Inc. v.

Alfonzo-Larrain, 490 U.S. 826, 832 (1989); see Grupo Dataflux v. Atlas Global Grp., L.P., 541

U.S. 567, 572–73 (2004).

       49.     Sullivan v. Calvert Memorial Hospital, 117 F. Supp. 3d 702 (D. Md. 2015), is

particularly instructive. There, a Maryland citizen filed suit in state court for injuries arising from

the implant of a medical device. Id. at 703. The plaintiff asserted claims against the out-of-state



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manufacturer of the medical device, as well as non-diverse healthcare providers who performed

her surgery. Id. at 703–04. Notwithstanding a lack of complete diversity on the face of the

complaint, the manufacturer removed the case to federal court, arguing the court should preserve

diversity jurisdiction by severing the non-diverse healthcare providers as unnecessary and

dispensable parties under Rule 19. Id. at 704. The court agreed. Id. at 707.

       50.      Even though the claims against the manufacturer and the healthcare providers

“involve[d] the same physical object,” the court held that severance was appropriate because the

claims against the two sets of defendants involved “distinctly different” “legal standards and

factual inquiries.” Id. at 706. As the court explained, “[t]he [healthcare providers] are not

necessary parties to [plaintiff’s] claims against the [diverse manufacturer] because the resolution

of her claims against the [healthcare providers] would not necessarily resolve her claims against

the [manufacturer].” Id. at 707. “[Plaintiff’s] medical negligence claims against the [healthcare

providers] hinge on whether they deviated from the standard of care of healthcare professionals . .

. . Her products liability claims against the [manufacturer] turn on whether [it] . . . improperly

designed, manufactured, tested, advertised, and gave directions regarding use of the [medical

device]. These standards of care and the deviation from same are different and distinct from one

another.” Id.

       51.      The court further explained that there was “a critical policy reason” to sever the

non-diverse defendants — namely, it would allow the claims against the diverse defendant to be

transferred to an MDL. Id. “Whatever inconvenience [plaintiff] might suffer from her having to

litigate her claims in two separate forums, that inconvenience is far exceeded by the prejudice of

requiring the manufacturer . . . to defend on many more than just two fronts. Forcing the [diverse

defendant] to litigate [these] claims in state courts throughout the country whenever and wherever



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the claims might be joined to claims against healthcare providers that installed the device would

defeat the entire purpose of the MDL.” Id. (citation and quotes omitted). Accordingly, the court

severed the non-diverse defendants and denied remand as to the diverse manufacturer. Id.

       52.     Numerous decisions of district courts in this Circuit and other circuits are in accord

with Sullivan. See, e.g., Cooke-Bates v. Bayer Corp., No. 3:10-cv-261, 2010 WL 3984830, at *4

(E.D. Va. Oct. 8, 2010); Joseph v. Baxter Int’l, Inc., 614 F. Supp. 2d 868, 872–74 (N.D. Ohio

2009); Mayfield v. London Women’s Care, PLLC, No. 15-19, 2015 WL 3440492, at *5 (E.D. Ky.

May 28, 2015); DeGidio v. Centocor, Inc., No. 3:09CV721, 2009 WL 1867676, at *3–*4 (N.D.

Ohio July 8, 2009); McElroy v. Hamilton Cty. Bd. of Educ., No. 1:12-cv-297, 2012 WL 12871469,

at *2–*3 (E.D. Tenn. Dec. 20, 2012).

       53.     Likewise, here, this Court should sever the non-PBM Defendants under Rule 21

and uphold removal as to the PBM Defendants because the remaining Defendants are both

unnecessary and dispensable under Rule 19.

       54.     Alleged joint tortfeasors are unnecessary parties as a matter of settled law. See

Temple v. Synthes Corp., 498 U.S. 5, 7–8 (1990) (holding that joint tortfeasors are not necessary

parties under Rule 19); Linnin v. Michielsens, 372 F. Supp. 2d 811, 826 (E.D. Va. 2005) (“[A]

non-diverse defendant who is a jointly and severally liable tort-feasor is not an indispensable party

to a diversity action under Rule 19 and may be dismissed by the court in order for it to retain

jurisdiction.” (citation and quotes omitted)).

       55.     Moreover, just like Sullivan (and many other cases) in which the plaintiff’s claims

against the diverse defendants and non-diverse defendants were materially distinct, Plaintiff’s

allegations in this case against the PBM Defendants are materially distinct from those against the

other Defendants. Specifically, Plaintiff’s allegations against the Manufacturer Defendants center



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on their alleged misrepresentations concerning the risks and benefits of FDA-approved

prescription opioid medications made in marketing and promoting the medications. Plaintiff

alleges that the Distributor Defendants and Pharmacy Defendants failed to monitor, report and halt

suspicious orders of opioid medications. By contrast, Plaintiff’s allegations against the PBM

Defendants concern their alleged design of benefit plans determining which medications will be

covered by pharmacy benefit plans. There is no material overlap between the factual allegations

against the PBM Defendants, on the one hand, and the non-PBM Defendants, on the other, that

would make the non-PBM Defendants necessary or indispensable parties under Rule 19. Rather,

just like Sullivan, “the resolution of [Plaintiff’s] claims against the [other Defendants] would not

necessarily resolve [Plaintiff’s] claims against the [PBM Defendants].” 117 F. Supp. 3d at 707.

        56.     Beyond Rule 19, the claims against non-PBM Defendants are also misjoined under

Rule 20, which provides an independent basis for severance. Rule 21 permits severance of claims

against non-diverse defendants that do not “aris[e] out of the same transaction, occurrence, or

series of transactions or occurrences” as the claims against other defendants. Fed. R. Civ. Proc.

20(a)(1)(A); see Loeffelbein v. Milberg Weiss Bershad Hynes & Lerach, LLP, No. Civ.A. 02-2435-

CM, 2003 WL 21313957, at *5 (D. Kan. May 23, 2003) (“Rule 21 is a mechanism for correcting

. . . the misjoinder . . . of parties or claims” which “arises when the claims and parties fail to satisfy

any of the conditions of permissive joinder under Rule 20(a).” (citation omitted)). Courts have

repeatedly denied remand as to diverse defendants and severed claims against non-diverse

defendants where the claims against the non-diverse defendants were separate and distinct, and

arose from different transactions or occurrences. 8 Because of the distinct factual underpinnings of


8
 See Todd v. Cary’s Lake Homeowners Ass’n, 315 F.R.D. 453, 458 (D.S.C. 2016); Westley v.
Progressive Specialty Ins. Co., No. 14-1410, 2014 WL 4489620, at *6–*7 (E.D. La. Sept. 10,
2014); Loeffelbein, 2003 WL 21313957, at *6; Sutton v. Davol, Inc., 251 F.R.D. 500, 502-05 (E.D.


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the claims against the different sets of Defendants here, these claims cannot properly be joined

together.

       57.     Severance is particularly appropriate here because it will enable the diverse parties

to benefit from the significant efficiencies stemming from participation in coordinated MDL

proceedings in the Northern District of Ohio.           Courts across the country have repeatedly

recognized the importance of these efficiencies in severing non-diverse defendants to perfect

diversity jurisdiction. See, e.g., Sullivan, 117 F. Supp. 3d at 707 (“Severance is particularly

appropriate in this case because it would allow for the transfer of [plaintiff’s] claims against the

[diverse defendant] to Multi-District Litigation . . . .”); Sutton, 251 F.R.D. at 505 (“Plaintiffs’

claims against the [non-diverse] Defendants are severed and remanded pursuant to Rule 21 . . . so

as to preserve the removing Defendants’ right to removal in the remaining multidistrict action and

preserve the interests of judicial expediency and justice so that all pre-trial discovery on the

products liability case can be coordinated in a single forum.”); Baxter, 614 F. Supp. 2d at 873

(“[P]laintiffs will benefit from the MDL process: they will not bear the burden of having to engage

on their own, and at their sole expense, in discovery vis-à-vis [the diverse manufacturer].”);

Mayfield, 2015 WL 3440492, at *5 (“[I]f the surviving federal claims are transferred to the Ethicon

MDL, the prospect of dual litigation has undeniable upside.”).

       58.     As the Eastern District of Virginia has explained in materially identical

circumstances, “[t]he Court’s decision to sever . . . [the non-diverse healthcare provider] will not

greatly prejudice [plaintiff], but failure to do so could subject [the diverse defendant] to



Cal. 2008); Greene v. Wyeth, 344 F. Supp. 2d 674, 683-84 (D. Nev. 2004); Anderson v. State Farm
Mut. Auto. Ins. Co., No. 4:08CV345-RH/WCS, 2008 WL 11366408, at *3 (N.D. Fla. Nov. 10,
2008); DirecTV, Inc. v. Beecher, 296 F. Supp. 2d 937, 945 (S.D. Ind. 2003); Randleel v. Pizza Hut
of Am., Inc., 182 F.R.D. 542, 543 (N.D. Ill. 1998).


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considerable prejudice. [Plaintiff] will be forced to pursue two separate suits, but it will not alone

bear the administrative and financial burdens of pursuing its claims against [the diverse defendant]

in the MDL proceedings. For its part, [the diverse defendant] could be exposed to numerous

related suits if courts considering suits similar to this one refused to sever claims against [the

defendant] from those against the providers that prescribed [the drug].” Cooke-Bates, 2010 WL

3984830, at *4 (citations omitted).

       59.     Plaintiff’s assertion of some causes of action against “all Defendants” does not

change the analysis. Severance is appropriate because the factual basis for Plaintiff’s claims

against the PBM Defendants is materially distinct from the factual basis for Plaintiff’s claims

against the other Defendants. See Loeffelbein, 2003 WL 21313957, at *6 (“While plaintiffs do not

distinguish between each of the defendants in the individual counts of the petition, the counts

clearly arise from two different sets of facts.”); Nelson v. Aim Advisors, Inc., No. 01-CV-0282-

MJR, 2002 WL 442189, at *3 (S.D. Ill. Mar. 8, 2002) (“Although Plaintiffs’ claims against all

Defendants are pled under the same legal theory, it is only in this abstract sense that Plaintiffs’

claims share anything in common . . . . [and] does not mean that there are common issues of law

and fact sufficient to satisfy Rule 20(a).”). If Plaintiff wants to pursue claims against the other

Defendants, Plaintiff has an “adequate remedy . . . in state court.” Baxter, 614 F. Supp. 2d at 873.

               2.      The Non-PBM Defendants Are Fraudulently Misjoined.

       60.     As an alternative to severance under Rule 21, the citizenship of non-PBM

Defendants should be ignored for purposes of diversity jurisdiction under the fraudulent misjoinder

doctrine. As district courts in this Circuit have explained, fraudulent misjoinder (or procedural

misjoinder) “is an assertion that claims against certain defendants . . . have no real connection to

the claims against other defendants in the same action and were only included in order to defeat



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diversity jurisdiction and removal.” Cty. Comm’n of McDowell Cty. v. McKesson Corp., 263 F.

Supp. 3d 639, 644 (S.D. W. Va. 2017) (citation and quotes omitted); see also Tapscott v. MS

Dealer Serv. Corp., 77 F.3d 1353, 1360 (11th Cir. 1996), abrogated on another ground by Cohen

v. Office Depot, Inc., 204 F.3d 1069 (11th Cir. 2000)).

       61.     While the Fourth Circuit has neither accepted nor rejected the fraudulent misjoinder

doctrine, the “weight of authority” from district courts in this Circuit “accepts the doctrine.”

McKesson Corp., 263 F. Supp. 3d at 645.

       62.     In opioid-related cases like this one, federal district courts in this Circuit have relied

on the fraudulent misjoinder doctrine to ignore the citizenship of non-diverse defendants and deny

remand based on diversity jurisdiction. See, e.g., McKesson Corp., 263 F. Supp. 3d at 647; City

of Huntington v. AmerisourceBergen Drug Corp., Civ. A. No. 3:17-01362, 2017 WL 3317300, at

*4–*5 (S.D. W. Va. Aug. 3, 2017). In McKesson Corp., the plaintiff filed suit in state court against

diverse distributors of opioid products for allegedly “flood[ing] McDowell County with opioids

well beyond what was necessary to address pain and other [legitimate] reasons,” and also against

a non-diverse doctor for allegedly “provid[ing] written opioid prescriptions for patients, knowing

that the drugs were likely to be abused, diverted or misused.” 263 F. Supp. 3d at 642. Denying

plaintiff’s remand motion, the court held that “plaintiff’s claims against the [distributors] and the

claims against [the doctor]” lacked “common questions of law or fact” and were “separate and

distinct” and did not defeat diversity. Id. at 647. In City of Huntington, the court reached the same

conclusion for substantially the same reasons. 2017 WL 3317300, at *5 (claims against diverse

and non-diverse defendants were “separate and distinct”).

       63.     Even if the Court finds that the non-PBM Defendants are not subject to severance

under Rule 21, it should find the claims against them misjoined under the fraudulent misjoinder



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doctrine.

       64.     In sum, because Plaintiff is a Virginia citizen, and none of the PBM Defendants is

a Virginia citizen, there is complete diversity of citizenship. See 28 U.S.C. § 1332(a).

       D.      The Amount In Controversy Exceeds $75,000.

       65.     “[A] defendant’s notice of removal need only include a plausible allegation that the

amount in controversy exceeds the jurisdictional threshold.” Dart Cherokee Basin Operating Co.,

LLC v. Owens, 135 S. Ct. 547, 554 (2014).

       66.     Plaintiff seeks “compensatory damages in an amount not less than $45,000,000”

plus punitive damages of “$350,000 per defendant.” Compl. Prayer for Relief ¶¶ (1)-(2). The

alleged amount in controversy thus well exceeds $75,000, exclusive of interest and costs.

III.   PROCEDURAL COMPLIANCE

       67.     All procedural requirements for removal which apply under 28 U.S.C. § 1446 and

this Court’s Local Civil Rules have been satisfied.

       A.      This Notice Is Timely.

       68.     Removal notices must be filed within 30 days of the date upon which the removing

defendant was served with process. 28 U.S.C. § 1446(b); see also Murphy Bros., Inc. v. Michetti

Pipe Stringing, Inc., 526 U.S. 344, 356 (1999). This Notice of Removal is timely as it is filed

within 30 days of when Removing Defendants waived service of process and/or accepted service

pursuant to the parties’ service agreement, which occurred on October 23, 2019, for the PBM

Defendants, and on November 6, 2019 for Express Scripts Pharmacy, Inc. and ESI Mail Pharmacy

Service, Inc. See Exhibit 3 [Waiver Forms]. “If defendants are served at different times, and a

later-served defendant files a notice of removal, any earlier-served defendant may consent to the

removal even though that earlier-served defendant did not previously initiate or consent to



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removal.” 28 U.S.C. §§ 1446(b)(2)(C).

         B. The Consent Requirement Is Satisfied.

         69.   Federal officer removal does not require co-defendants to consent to or join in the

removal. Alsup v. 3-Day Blinds, Inc., 435 F. Supp. 2d 838, 842 (S.D. Ill. 2006) (noting the “settled

rule that removal under 28 U.S.C. § 1442 can be effected by any defendant in an action, with or

without the consent of co-defendants.”); see also Akin v. Ashland Chem. Co., 156 F.3d 1030, 1034

(10th Cir. 1998) (stating that removal under § 1442 “allows a federal officer [or person acting

under that officer] independently to remove a case to federal court even though that officer [or

person acting under that officer] is only one of several named defendants”); Bradford v. Harding,

284 F.2d 307, 310 (2d Cir. 1960) (holding removal of entire action occurs even where “some

persons entitled to join in the removal petition did not”).

         70.   For the purposes of removal based on diversity jurisdiction under 28 U.S.C. §

1332(a) and 28 U.S.C. § 1446(b), all defendants who have been properly joined and served must

consent to removal. However, consent is not required from fraudulently joined or fraudulently

misjoined defendants. See Shaffer v. Nw. Mut. Life Ins. Co., 394 F. Supp. 2d 814, 819 (N.D. W.

Va. 2005) (“[F]raudulently joined defendants are not required to consent to a codefendant’s notice

of removal.” (citing Fleming v. United Teachers Assocs. Ins. Co., 250 F. Supp. 2d 658, 663 (S.D.

W. Va. 2003)); see also Cooke-Bates v. Bayer Corp., No. 3:10-CV-261, 2010 WL 3064304, at *3

(E.D. Va. Aug. 2, 2010) (explaining that fraudulent misjoinder is an exception to the unanimity

rule).

         71.   Here, the consent requirement is satisfied because the only properly-joined

defendants are the PBMs, and the other PBMs join in and consent to this removal. In addition,

although not required, the following Defendants consent to removal: McKesson Corporation;




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McKesson Medical-Surgical, Inc.; AmerisourceBergen Drug Corporation; Cardinal Health Inc.;

Mylan Pharmaceuticals Inc.; Mylan Institutional Inc.; Teva Pharmaceuticals USA, Inc.; Cephalon,

Inc.; Watson Laboratories, Inc.; Actavis LLC; Actavis Pharma, Inc. f/k/a Watson Pharma, Inc.;

Mallinckrodt LLC; SpecGx LLC; Endo Health Solutions Inc.; Endo Pharmaceuticals Inc.; Par

Pharmaceutical Companies, Inc.; Par Pharmaceutical, Inc.; Walgreen Co.; Walgreen Eastern Co.

Inc.; Henry Schein, Inc.; General Injectables & Vaccines, Inc.; and Insource, Inc.; Indivior, Inc.;

CVS Pharmacy, Inc.; CVS TN Distribution, L.L.C.; Virginia CVS Pharmacy, L.L.C.; and

CaremarkPCS, L.L.C.; and Walmart Inc. See infra p. 30. The consenting Defendants expressly

reserve, and do not waive, any and all defenses that may be available to them, including those

related to personal jurisdiction and service of process.

       C. Additional Procedural Matters Are Satisfied.

        72.    In accordance with 28 U.S.C. § 1446(a), a copy of the operative Complaint, and all

“process, pleadings, and orders” served on the moving defendants in the state court proceeding is

attached as Exhibit 2.

        73.    The Civil Cover Sheet is attached as Exhibit 4.

        74.     In accordance with 28 U.S.C. § 1446(d), promptly after filing this Notice,

Removing Defendants will serve a copy of this Notice on Plaintiff and will file a copy of the Notice

with the Clerk of the Circuit Court for Amherst County, Virginia.

       75.     Nothing in this notice should be interpreted as a waiver or relinquishment of any of

the Removing Defendants’ rights to assert any and all defenses or objections to the Complaint,

including as to personal jurisdiction. If there are any questions that arise as to the propriety of

removal of this action, Removing Defendants respectfully request the opportunity to submit

briefing, argument, and additional evidence as necessary to support removal.




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       76.    Removing Defendants reserve the right to amend or supplement this Notice.

                                        CONCLUSION

       WHEREFORE, the Removing Defendants hereby remove this Action to this Court for

further proceedings according to law.

Dated: November 13, 2019

Respectfully submitted,

 /s/ Emily M. Scott                                 Julian W. Park
 Emily M. Scott                                     California Bar No. 263501
 Virginia Bar No. 71435                             (Pro hac vice forthcoming)
 HIRSCHLER FLEISCHER, P.C.                          KOBRE & KIM LLP
 The Edgeworth Building                             150 California Street, 19th Floor
 2100 East Cary Street                              San Francisco, California 94111
 Richmond, VA 23223                                 Tel.: (415) 582-4800
 Tel.: (804) 771-9539                               Fax: (415) 582-4811
 Fax: (804) 644-0957                                julian.park@kobrekim.com
 escott@hirschlerlaw.com

 Matthew I. Menchel                                 Steven G. Kobre
 Florida Bar No. 12043                              New York Bar No. 2581940
 (Pro hac vice forthcoming)                         (Pro hac vice forthcoming)
 Adriana Riviere-Badell                             KOBRE & KIM LLP
 Florida Bar No. 30572                              800 Third Avenue
 (Pro hac vice forthcoming)                         New York, New York, 10022
 KOBRE & KIM LLP                                    Tel: (212) 488-1200
 201 South Biscayne Boulevard                       Fax: (212) 488-1220
 Suite 1900                                         steven.kobre@kobrekim.com
 Miami, Florida 33131
 Tel.: (305) 967 6100                               (Attorneys for Defendants Express Scripts, Inc.,
 Fax: (305) 967 6120                                Express Scripts Holding Company, Express
 adriana.riviere-badell@kobrekim.com                Scripts Pharmacy, Inc., and ESI Mail Pharmacy
 matthew.menchel@kobrekim.com                       Service, Inc.)

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/s/ Michael W. Smith                               /s/ Turner A. Broughton
Michael W. Smith (VSB No. 01125)                   Turner A. Broughton
S. Perry Coburn (VSB No. 78372)                    Virginia Bar No.: 42627
Shannan M. Fitzgerald (VSB No. 90712)              WILLIAMS MULLEN
CHRISTIAN & BARTON, L.L.P.                         200 South 10th Street
909 East Main Street, Suite 1200                   Suite 1600
Richmond, Virginia 23219                           Richmond, VA 23219
Tel. (804) 697-4100                                Tel.: (804) 420-6926
Fax (804) 697-4112                                 Fax: (804)644-0957
msmith@cblaw.com                                   tbroughton@williamsmullen.com
pcoburn@cblaw.com
sfitzgerald@cblaw.com                              Attorney for Defendants UnitedHealth Group
                                                   Incorporated, Optum, Inc., and
Adam L. Fotiades (pro hac vice forthcoming)        OptumRx, Inc.
ZUCKERMAN SPAEDER LLP
1800 M Street, NW, Suite 1000
Washington, D.C. 20036–5807
Tel. (202) 778–1800
afotiades@zuckerman.com

Attorneys for Defendants CVS Health
Corporation, Caremark Rx, L.L.C.,
CaremarkPCS Health, L.L.C., and Caremark,
L.L.C.




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WRITTEN CONSENT OF OTHER DEFENDANTS

The undersigned Defendants consent to the removal of this matter.

 McKESSON CORPORATION AND                       CVS PHARMACY, INC., CVS TN
 McKESSON MEDICAL-SURGICAL                      DISTRIBUTION, L.L.C., VIRGINIA CVS
 INC.                                           PHARMACY, L.L.C., CAREMARKPCS,
                                                L.L.C.
 By Counsel:
                                                By Counsel:
 /s/ Peter J. Raupp
 Peter J. Raupp (VSB No. 48689)                 /s/ Michael W. Smith
 STEPTOE & JOHNSON PLLC                         Michael W. Smith (VSB No. 01125)
 P.O. Box 1588                                  S. Perry Coburn (VSB No. 78372)
 Charleston, WV 25326-1588                      Shannan M. Fitzgerald (VSB No. 90712)
 Telephone: (304) 353-8000                      CHRISTIAN & BARTON, L.L.P.
 peter.raupp@steptoe-johnson.com                909 East Main Street, Suite 1200
                                                Richmond, Virginia 23219
 Counsel for McKesson Corporation and           Tel. (804) 697-4100
 McKesson Medical-Surgical, Inc.                Fax (804) 697-4112
                                                msmith@cblaw.com
                                                pcoburn@cblaw.com
 ENDO HEALTH SOLUTIONS INC.,                    sfitzgerald@cblaw.com
 ENDO PHARMACEUTICALS INC.,
 PAR PHARMACEUTICAL                             Adam L. Fotiades (pro hac vice forthcoming)
 COMPANIES, INC., AND PAR                       ZUCKERMAN SPAEDER LLP
 PHARMACEUTICAL, INC.                           1800 M Street, NW, Suite 1000
                                                Washington, D.C. 20036-5807
 By Counsel:                                    Tel. (202) 778-1800
                                                afotiades@zuckerman.com
 Tirzah S. Lollar
 Virginia Bar Number: 68145                     Attorneys for Defendants CVS Pharmacy, Inc.,
 ARNOLD & PORTER KAYE SCHOLER                   CVS TN Distribution, L.L.C., Virginia CVS
 LLP                                            Pharmacy, L.L.C., and CaremarkPCS, L.L.C.
 601 Massachusetts Ave, NW
 Washington, DC 20001
 Tel.: (202) 942-6199
 Fax: (202) 942-5999
 E-Mail: Tirzah.Lollar@arnoldporter.com

 Attorney for Endo Health Solutions Inc.;
 Endo Pharmaceuticals Inc.; Par
 Pharmaceutical Companies, Inc.; Par
 Pharmaceutical, Inc.




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TEVA PHARMACEUTICALS USA, INC.; WALGREEN CO. AND WALGREEN
CEPHALON, INC.; WATSON             EASTERN CO. INC.
LABORATORIES, INC.; ACTAVIC LLC;
AND ACTAVIS PHARMA, INC. f/k/a     By Counsel:
WATSON PHARMA, INC.
                                   /s/ Jonathan P. Floyd
By Counsel:                        Jonathan P. Floyd (Va. State Bar No.
                                   88458)
/s/ James Kevin Fee                Troutman Sanders LLP
James Kevin Fee (VA Bar. No 88376) 1001 Haxall Point
MORGAN, LEWIS & BOCKIUS LLP        Richmond, VA 23219
1111 Pennsylvania Ave., NW         Telephone: (804) 697-1435
Washington, DC 20004               Facsimile: (804) 697-1339
Tel.: (202)-739-5353               jonathan.floyd@troutman.com
kevin.fee@morganlewis.com
                                   Attorneys for Walgreen Co. and Walgreen
Nancy L. Patterson*                Eastern Co. Inc.
MORGAN, LEWIS & BOCKIUS LLP
1000 Louisiana Street, Suite 4000
Houston, Texas 77002               CARDINAL HEALTH INC.
Tel.: (713) 890-5000
nancy.patterson@morganlewis.com    By Counsel:

Steven A. Reed*                              W. Huntington Byrnes (VSB No. 46714)
MORGAN, LEWIS & BOCKIUS LLP                  BYRNES GOULD PLLC
1701 Market Street                           312 Main Street, Suite 200
Philadelphia, PA 19103-2921                  P.O. Box 47
Tel.: (215) 963-5000                         Danville, VA 24543
steven.reed@morganlewis.com                  Tel. (434) 792-2424
                                             Fax (434) 321-1661
* denotes national counsel who will seek pro hbyrnes@byrnesgould.com
hac vice admission
                                             Counsel for Cardinal Health Inc.
Counsel for Defendants Teva
Pharmaceuticals USA, Inc.; Cephalon, Inc.;
Watson Laboratories, Inc.; Actavis LLC; and
Actavis Pharma, Inc. f/k/a Watson Pharma,
Inc.




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MALLINCKRODT LLC AND                             AMERISOURCEBERGEN
SPECGX LLC                                       DRUG CORPORATION

By Counsel:                                      By Counsel:

/s/ Sarah B. Miller                              /s/ Brent R. Gary
Sarah B. Miller (VSB No. 77087)                  Brent R. Gary (VSB No. 66592)
smiller@bassberry.com                            bgary@reedsmith.com
Jessalyn H. Zeigler (pro hac vice forthcoming)   REED SMITH LLP
jzeigler@bassberry.com                           7900 Tysons One Place
BASS, BERRY & SIMS PLC                           Suite 500
150 Third Avenue South, Suite 2800               McLean, VA 22102
Nashville, TN 37201                              Telephone: (703) 641-4200
Tel: (615) 742-6200                              Facsimile: (703) 641-4240
                                                 bgary@reedsmith.com
Andrew J. O’Connor (pro hac vice
forthcoming)                                     /s/ Justin M. Sizemore
andrew.o’connor@ropesgray.com                    Justin M. Sizemore (VSB No. 71859)
ROPES & GRAY LLP                                 REED SMITH LLP
800 Boylston Street                              901 East Byrd Street
Boston, MA 02199                                 Suite 1900
Tel: (617) 951-7000                              Richmond, VA 23219
                                                 Telephone: (804) 344-3400
Counsel for Mallinckrodt LLC and SpecGx          Facsimile: (804) 344-3410
LLC                                              jsizemore@reedsmith.com

                                                 Counsel for AmerisourceBergen Drug
INDIVIOR, INC.                                   Corporation

By Counsel:

Thomas M. Trucksess (VSB No. 77412)
HOGAN LOVELLS US LLP
8350 Broad Street, 17th Floor
Tysons, Virginia 22102
Telephone: 703.610.6181
Facsimile: 703.610.6200
Email: thomas.trucksess@hoganlovells.com

Counsel for Indivior, Inc.




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MYLAN PHARMACEUTICALS INC.                     HENRY SCHEIN, INC.; GENERAL
AND MYLAN INSTITUTIONAL INC.                   INJECTABLES & VACCINES, INC.;
                                               AND INSOURCE, INC.
By Counsel:
                                               By Counsel:
/s/ Rebecca C. Mandel
Rebecca C. Mandel (VA Bar No. 91936)           /s/ Paul C. Kuhnel
HOGAN LOVELLS US LLP                           Paul C. Kuhnel (VSB No. 28151)
555 13th St., NW                               Paul.Kuhnel@leclairryan.com
Washington, DC 20004                           LECLAIRRYAN
Tel: (202) 637-5600                            1800 Wells Fargo Tower, Drawer 1200
Fax: (202) 637-5910                            Roanoke, Virginia 24006
rebecca.mandel@hoganlovells.com                (540) 510-3051 Direct
                                               (540) 510-3050 Fax
Jon M. Talotta
Emily A. Gomes                                 John P. McDonald
HOGAN LOVELLS US LLP                           jpmcdonald@lockelord.com
8350 Broad St.                                 C. Scott Jones
Tysons, VA 22102                               sjones@lockelord.com
Tel: (703) 610-6100                            Lauren M. Fincher
Fax: (703) 610-6200                            lfincher@lockelord.com
jon.talotta@hoganlovells.com                   Brandan J. Montminy
emily.gomes@hoganlovells.com                   brandan.montminy@lockelord.com

Counsel for Defendant Mylan                    Counsel for Henry Schein, Inc.; General
Pharmaceuticals Inc. and Mylan Institutional   Injectables & Vaccines, Inc.; and Insource,
Inc.                                           Inc.




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WALMART INC.

By Counsel:

/s/ Alisha M. Crovetto

Alisha M. Crovetto (Va. Bar No. 85521)
JONES DAY
51 Louisiana Avenue, N.W.
Washington, D.C.
20001-2113
(202) 879-3791
acrovetto@jonesday.com

Christopher Lovrien*
Sarah G. Conway*
JONES DAY
555 S. Flower St., 50th Floor
Los Angeles, CA 90071
(213) 243-2567
cjlovrien@jonesday.com
sgconway@jonesday.com

*denotes national counsel who will seek pro
hac vice admission

Counsel for Walmart Inc.




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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on November 13, 2019, the foregoing document was

electronically filed with the Clerk of the Court, to be served by the Court’s electronic notification

system upon all attorneys of record. Other notice is being sent to the parties via U.S. Mail Postage

Prepaid.

                  Plaintiff                                           Attorneys
 Amherst County, Virginia                          Grant Morris
                                                   Kevin Sharp
                                                   Andrew Miller
                                                   Jonathan Tepe
                                                   R. Johan Conrod, Jr.
                                                   SANFORD HEISLER SHARP, LLP
                                                   611 Commerce Street, Suite 3100
                                                   Nashville, Tennessee 37203
                                                   Tel: (615) 434-7000
                                                   gmorris@sanfordheisler.com
                                                   ksharp@sandfordheisler.com
                                                   amiller@sanfordheisler.com
                                                   jtepe@sanfordheisler.com
                                                   JConrod@sanfordheisler.com

                                                   Joanne Cicala
                                                   THE CICALA LAW FIRM PLLC
                                                   101 College Street
                                                   Dripping Springs, Texas 78620
                                                   Tel: (512) 275-6550
                                                   joanne@cicalapllc.com

                                                   W. Edgar Spivey
                                                   Patrick H. O’Donnell
                                                   Lauren Tallent Rogers
                                                   KAUFMAN CANOLES, PC
                                                   150 W. Main Street, Suite 2100
                                                   Norfolk, VA 23510-1665
                                                   Tel: (757) 624-3196
                                                   wespivey@kaufcan.com
                                                   phodonnell@kaufcan.com
                                                   ltrogers@kaufcan.com




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                 Defendants                                       Address
Richard Sackler; Beverly Sackler; David         Erica Courtney Lai
Sackler; Ilene Sackler Lefcourt; Jonathan       Melissa Helen Maxman
Sackler; Kathe Sackler; Mortimer D.A.           Ronald Franklin Wick
Sackler; Theresa Sackler                        Danielle Catherine Morello
                                                COHEN & GRESSER LLP
                                                2001 Pennsylvania Ave. NW, Suite 300
                                                Washington, DC 20006

John Stewart                                    Kevin H. Marino, Esq.
                                                TORTORELLA & BOYLE
                                                437 S. Blvd
                                                Chatham, NJ 07928-1488

Mark Timney                                     John Potter, Esq.
                                                Jordan Alexander, Esq.
                                                QUINN EMANUEL URQUHART
                                                    & SULLIVAN, LLP
                                                50 California St., 22nd Fl.
                                                San Francisco, CA 94111

Craig Landau                                    Linda Imes, Esq.
                                                Chris Dysard, Esq.
                                                SPEARS & IMES LLP
                                                51 Madison Ave
                                                New York, NY 10010

Russell Gasdia                                  Julie B. Porter, Esq.
                                                SALVATORE PRESCOTT & PORTER
                                                1010 Davis St.
                                                Evanston, IL 60201

Mallinckrodt plc                                CT Corporation System
                                                120 South Central Avenue, Suite 400
                                                Clayton, Missouri 63105

Mallinckrodt LLC                                CT Corporation System
                                                4701 Cox Road, Suite 285
                                                Glen Allen, Virginia 23060

SpecGX LLC                                      The Corporation Trust Company
                                                Corporation Trust Center
                                                1209 Orange Street
                                                Wilmington, Delaware 19801




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Endo Health Solutions, Inc; Endo                The Corporation Trust Company
Pharmaceuticals, Inc.; PAR Pharmaceutical       Corporation Trust Center
Companies, Inc.                                 1209 Orange Street
                                                Wilmington, Delaware 19801

PAR Pharmaceutical, Inc.                        CT Corporation System
                                                28 Liberty Street
                                                New York, New York 10005

Teva Pharmaceuticals USA, Inc.                  Corporate Creations Network Inc.
                                                3411 Silverside Road Tatnall Building, Suite
                                                104
                                                Wilmington, Delaware 19810

Cephalon, Inc.                                  41 Moores Road
                                                Frazer, Pennsylvania 19355

Watson Laboratories, Inc.                       Corporate Creations Network Inc.
                                                8275 South Eastern Avenue, #200
                                                Las Vegas, Nevada 89123

Actavis Pharma, Inc.                            Corporate Creations Network Inc.
                                                6802 Paragon Place #410
                                                Richmond, Virginia 23230

Actavis LLC                                     Corporate Creations Network Inc.
                                                3411 Silverside Road Tatnall Building, Suite
                                                104
                                                Wilmington, Delaware 19810

Allergan Finance, LLC; Allergan plc             The Corporation Trust Company of Nevada
                                                701 S. Carson Street, Suite 200
                                                Carson City, Nevada 89701

Barr Laboratories, Inc.                         Corporate Creations Network Inc.
                                                6802 Paragon Place, Suite 410
                                                Richmond, Virginia 23230

Mylan Pharmaceuticals Inc.; Mylan               Rebecca Mandel
Institutional Inc.                              HOGAN LOVELLS LLP
                                                555 Thirteenth Street, NW
                                                Washington, D.C. 20004
                                                rebecca.mandel@hoganlovells.com




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Indivior Inc.                               Corporation Service Company
                                            251 Little Falls Drive,
                                            Wilmington, Delaware 19808

McKesson Corporation; McKesson Medical-     Corporation Service Company
Surgical, Inc.                              100 Shockoe Slip, 2nd Floor
                                            Richmond, Virginia 23219

Cardinal Health, Inc.                       CT Corporation System
                                            4400 Easton Commons Way, Suite 125
                                            Columbus, Ohio 43219

AmerisourceBergen Drug Corporation          CT Corporation System
                                            4701 Cox Road, Suite 285
                                            Glen Allen, Virginia 23060

Henry Schein, Inc.                          Corporation Service Company
                                            100 Shockoe Slip, 2nd Floor
                                            Richmond, Virginia 23219

General Injectables & Vaccines, Inc.        Corporation Service Company
                                            100 Shockoe Slip, 2nd Floor
                                            Richmond, Virginia 23219

Insource, Inc.                              Corporation Service Company
                                            100 Shockoe Slip, 2nd Floor
                                            Richmond, Virginia 23219

CVS Pharmacy, Inc.; Virginia CVS            CT Corporation System
Pharmacy, L.L.C.; CaremarkPCS, L.L.C.       4701 Cox Road, Suite 285
                                            Glen Allen, Virginia 23060

CVS TN Distribution, L.L.C.                 CT Corporation System
                                            300 Montvue Road
                                            Knoxville, Tennessee 37919

Walgreens Boots Alliance, Inc.              Corporation Service Company
                                            251 Little Falls Drive
                                            Wilmington, Delaware 19808

Walgreen Co.                                Corporation Service Company
                                            100 Shockoe Slip, 2nd Floor
                                            Richmond, Virginia 23219




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 Walgreen Eastern Co., Inc.                      The Prentice-Hall Corporation
                                                 System, Inc.
                                                 80 State Street
                                                 Albany, New York, 12207

 Walmart Inc.                                    CT Corporation System
                                                 4701 Cox Rd. Ste 285
                                                 Glen Allen, VA 23060

 Rite Aid Corp.                                  The Corporation Trust Company
                                                 Corporation Trust Center
                                                 1209 Orange St.
                                                 Wilmington, Delaware 1980

 Rite Aid of Maryland, Inc.; Rite Aid Mid-       The Corporation Trust, Incorporated
 Atlantic                                        2405 York Road, Suite 201
                                                 Lutherville Timonium, Maryland 21093-2264

 Rite Aid of Virginia, Inc.                      CT Corporation System
                                                 4701 Cox Rd. Ste. 285,
                                                 Glen Allen, Virginia 23060

 Eckerd Corporation                              CT Corporation System
                                                 4701 Cox Rd. Ste 285
                                                 Glen Allen, Virginia 23060

Dated: November 13, 2019                       Respectfully Submitted,

                                               By: /s/ Emily M. Scott
                                               Emily M. Scott
                                               Virginia Bar No. 71435
                                               HIRSCHLER FLEISCHER, P.C.
                                               The Edgeworth Building
                                               2100 East Cary Street
                                               Richmond, VA 23223
                                               Tel.: (804) 771-9539
                                               Fax: (804) 644-0957
                                               escott@hirschlerlaw.com

                                                (Attorneys for Defendants Express Scripts, Inc.,
                                                Express Scripts Holding Company, Express
                                                Scripts Pharmacy, Inc., and ESI Mail Pharmacy
                                                Service, Inc.)




                                             - 39 -
